      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 1 of 27
             REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
    Charles K. Verhoeven (Bar No. 170151)
  charlesverhoeven@quinnemanuel.com
    David A. Perlson (Bar No. 209502)
  davidperlson@quinnemanuel.com
    50 California Street, 22nd Floor
  San Francisco, California 94111
    Telephone: (415) 875-6600
  Facsimile: (415) 875-6700

  Kevin P.B. Johnson (Bar No. 177129)
    kevinjohnson@quinnemanuel.com
  Victoria F. Maroulis (Bar No. 202603)
    victoriamaroulis@quinnemanuel.com
  555 Twin Dolphin Drive, 5th Floor
    Redwood Shores, California 94065
  Telephone: (650) 801-5000
    Facsimile: (650) 801-5100

    Attorneys for Samsung Electronics Co., Ltd.,
 Samsung Electronics America, Inc., and
    Samsung Research America, Inc.

                                 UNITED STATES DISTRICT COURT

                              NORTHERN DISTRICT OF CALIFORNIA

                                      SAN FRANCISCO DIVISION

    HUAWEI TECHNOLOGIES CO., LTD., et al.,          CASE NO. 16-cv-02787-WHO

                          Plaintiffs,               SAMSUNG’S NOTICE OF MOTION
                                                 AND MOTION FOR SUMMARY
            v.                                      JUDGMENT

    SAMSUNG ELECTRONICS CO., LTD., et al.,          Hearing Date: August 8, 2018
                                                 Time: 2:00 p.m.
                          Defendants.               Place: Courtroom 2, 17th Floor
                                                 Judge: Hon. William H. Orrick
 SAMSUNG ELECTRONICS CO., LTD. &
    SAMSUNG ELECTRONICS AMERICA, INC.,

                   Counterclaim-Plaintiffs,

         v.

    HUAWEI TECHNOLOGIES CO., LTD.,
 HUAWEI DEVICE USA, INC., HUAWEI
    TECHNOLOGIES USA, INC., & HISILICON
 TECHNOLOGIES CO., LTD.,
                   Counterclaim-Defendants.



                                                                   Case No. 16-cv-02787-WHO
                                                 SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 2 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1                               NOTICE OF MOTION AND MOTION
 2          PLEASE TAKE NOTICE that on August 8, 2018, at 2 PM, Samsung Electronics Co., Ltd.

 3 and Samsung Electronics America, Inc. (collectively “Samsung”) shall and hereby do move the

 4 Court pursuant to Federal Rule of Civil Procedure 56 for summary judgment. This motion is based

 5 on this notice of motion and supporting memorandum of points and authorities, the supporting

 6 declaration of Vijay Madisetti, Ph.D., the accompanying exhibits, and such other written or oral

 7 argument as may be presented at or before the time this motion is deemed submitted by the Court.

 8                                       RELIEF REQUESTED
 9          Pursuant to Federal Rule of Civil Procedure 56, Samsung seeks an order granting summary
10 judgment of: (1) non-infringement of claims 7 and 18 of U.S. Patent No. 8,644,239 (“the ’239

11 patent”); (2) invalidity under 35 U.S.C. § 112, or in the alternative non-infringement, of claims 7

12 and 18 of the ’239 patent; (3) non-infringement of claims 1 and 5 of U.S. Patent No. 8,724,613; (4)

13 invalidity of claims 7 and 18 of the ’239 patent under 35 U.S.C. § 101; (5) a finding that one of the

14 invalidity references raised by Huawei against Samsung’s U.S. Patent No. RE44,105 (“the ’105

15 patent”) does not qualify as prior art and cannot invalidate the ’105 patent as a matter of law; and

16 (6) no inequitable conduct by Samsung or the inventor during prosecution related to the ’105 patent.

17

18 DATED: July 3, 2018                            Respectfully submitted,

19                                                QUINN EMANUEL URQUHART &
                                                  SULLIVAN, LLP
20

21                                           By       /s/ Victoria F. Maroulis
                                                    Charles K. Verhoeven
22                                                  Kevin P.B. Johnson
                                                    Victoria F. Maroulis
23                                                  David A. Perlson
24
                                                    Attorneys for Samsung Electronics Co., Ltd.,
25                                                  Samsung Electronics America, Inc., and
                                                    Samsung Research America, Inc.
26
27

28

                                                     -i-                  Case No. 16-cv-02787-WHO
                                                       SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
        Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 3 of 27
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1                                                      TABLE OF CONTENTS
                                                                                                                                          Page
 2

 3 INTRODUCTION ..............................................................................................................................1

 4 APPLICABLE LAW ..........................................................................................................................1

 5 ARGUMENT .....................................................................................................................................2

 6 I.           THE COURT SHOULD GRANT SUMMARY JUDGMENT OF NON-
                INFRINGEMENT AND INVALIDITY OF THE ’239 PATENT ........................................2
 7
                A.         The ’239 Patent and Huawei’s Allegations ................................................................2
 8
                B.         The Accused Products Do Not Infringe the “Group Number k” Limitations ............2
 9
                C.         The Asserted Claims Are Either Invalid as Indefinite or Not Infringed ....................4
10
                           1.        The Lack of a Clear Antecedent for “The Sequences” in the
11                                   Asserted Claims Renders Them Invalid as Indefinite ....................................5

12                         2.        In the Alternative, the Court Should Grant Summary Judgment of
                                     Non-Infringement ...........................................................................................7
13
                D.         The Asserted Claims in the ’239 Patent Are Invalid Under § 101 .............................9
14
                           1.        The Court Correctly Found the ’239 Patent Claims an Abstract Idea .........11
15
                           2.        The Asserted Claims of the ’239 Patent Contain No Inventive Step ...........12
16
     II.        THE COURT SHOULD GRANT SUMMARY JUDGMENT OF NON-
17              INFRINGEMENT OF THE ’613 PATENT ........................................................................14

18              A.         The ’613 Patent and Huawei’s Allegations ..............................................................14
19              B.         The “Evidence” Put Forth by Huawei Fails to Show that the Accused
                           Products Infringe the Claimed Receiving a Service .................................................16
20
     III.       SAMSUNG’S ’105 PATENT IS NOT INVALID IN VIEW OF MOTOROLA ................18
21
                A.         Relevant Factual Background ..................................................................................18
22
                B.         The Motorola Draft Does Not Qualify As Prior Art to the ’105 Patent ...................19
23
     IV.        THERE IS NO EVIDENCE OF INEQUITABLE CONDUCT WITH RESPECT
24              TO SAMSUNG’S ’105 PATENT ........................................................................................20

25 V.           CONCLUSION ....................................................................................................................22
26
27

28

                                                                          -i-                   Case No. 16-cv-02787-WHO
                                                                             SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
        Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 4 of 27
                      REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1                                                   TABLE OF AUTHORITIES
                                                                                                                                       Page
 2

 3                                                                    Cases

 4 1st Media, LLC v. Elec. Arts, Inc.,
          694 F.3d 1367 (Fed. Cir. 2012) ........................................................................................... 21
 5
   Alice Corp. Pty. v. CLS Bank Int’l,
 6        134 S. Ct. 2347 (2014) ............................................................................................ 10, 11, 12

 7 Anderson v. Liberty Lobby, Inc.,
          477 U.S. 242 (1986) .............................................................................................................. 1
 8
   Biagro Western Sales, Inc. v. Grow More, Inc.,
 9        423 F.3d 1296 (Fed. Cir. 2005) ............................................................................................. 7
10 Celotext Corp. v. Catrett,
          477 U.S. 317 (1986) .......................................................................................................... 1, 9
11
   Church & Dwight Co. v. Abbott Labs,
12        545 F. Supp.2d 447 (D.N.J. 2008) ...................................................................................... 19

13 In re Costello,
           717 F.2d 1346 (Fed. Cir. 1983) ........................................................................................... 19
14
   Elbit Sys. of Am., LLC v. Thales Visionix, Inc.,
15         881 F.3d 1354 (Fed. Cir. 2018) ........................................................................................... 17

16 Exigent Technology, Inc. v. Atrana Solutions, Inc.,
          442 F.3d 1301 (Fed. Cir. 2006) ............................................................................................. 9
17
   Fox Group, Inc. v. Cree, Inc.,
18        700 F.3d 1300 (Fed. Cir. 2012) ........................................................................................... 19
19 Hutchins v. Zoll Med. Corp.,
          492 F.3d 1377 (Fed. Cir. 2007) ............................................................................................. 7
20
   Icon Health & Fitness, Inc. v. Strava, Inc.,
21        849 F.3d 1034 (Fed. Cir. 2017) ........................................................................................... 17

22 Jazz Photo Corp. v. Int’l Trade Comm’n,
          264 F.3d 1094 (Fed. Cir. 2001) ............................................................................................. 7
23
   Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
24        475 U.S. 574 (1986) .............................................................................................................. 1

25 Nautilus, Inc. v. Biosig Instruments, Inc.,
          134 S. Ct. 2120 (2014) ...................................................................................................... 5, 7
26
   Nutrinova Nutrition Specialities & Food Ingredients GmbH v. Int’l Trade Comm’n,
27        224 F.3d 1356 (Fed. Cir. 2000) ............................................................................................. 7

28

                                                                        -ii-                  Case No. 16-cv-02787-WHO
                                                                           SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
         Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 5 of 27
                       REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 Parker v. Flook,
          437 U.S. 584 (1978) ...................................................................................................... 10, 12
 2
   Roberts v. Sears, Roebuck & Co.,
 3        665 F. Supp. 671 (N.D. Ill. 1987) ....................................................................................... 19

 4 Scimed Life Sys. v. Johnson & Johnson,
           2001 U.S. Dist. Lexis 12862 (D. Del. 2001) ....................................................................... 19
 5
   SRI Int’l, Inc. v. Internet Sec. Sys., Inc.,
 6         511 F.3d 1186 (Fed. Cir. 2008) ........................................................................................... 20

 7 Therasense, Inc. v. Becton, Dickinson and Co.,
          649 F.3d 1276 (Fed. Cir. 2011) ............................................................................... 20, 21, 22
 8

 9                                                                       Statutes
10 35 U.S.C. § 101 ............................................................................................................... 9, 10, 12, 13

11 35 U.S.C. § 102 ............................................................................................................................... 20

12 35 U.S.C. § 102(g) .................................................................................................................... 19, 20

13 35 U.S.C. § 111(b)(5) ...................................................................................................................... 19

14 35 U.S.C. § 112 ¶ 2 ....................................................................................................................... 4, 5

15
                                                                          Rules
16
      Fed. R. Civ. P. 12(b)(6) ................................................................................................................... 10
17
      Fed. R. Civ. P. 56(e) .......................................................................................................................... 1
18
      Fed. R. Evid. 201(b) ........................................................................................................................ 19
19

20

21

22

23

24

25
26
27

28

                                                                            -iii-                  Case No. 16-cv-02787-WHO
                                                                                SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 6 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1                                           INTRODUCTION
 2          Samsung seeks summary judgment on a targeted set of issues concerning non-infringement

 3 and invalidity of Huawei Technologies Co., Ltd.’s (“Huawei”) ’239 and ’613 patents, a finding that

 4 a reference asserted by Huawei against Samsung’s ’105 patent does not qualify as prior art and

 5 therefore cannot invalidate the ’105 patent as a matter of law, and that there was no inequitable

 6 conduct with respect to the ’105 patent. For the reasons set forth below, there are no triable issues

 7 of material fact as to any of these issues and summary adjudication is warranted.

 8                                          APPLICABLE LAW
 9          Rule 56(c) of the Federal Rules of Civil Procedure authorizes summary judgment if there
10 are no genuine issues as to any material fact and the moving party is entitled to judgment as a matter

11 of law. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247-48 (1986). The moving party bears the

12 initial burden of demonstrating the basis for motion and identifying the portions of the pleadings,

13 depositions, answers to interrogatories, affidavits, and admissions on file that establish the absence

14 of a triable issue of material fact. Celotext Corp. v. Catrett, 477 U.S. 317, 323 (1986). If the moving

15 party meets this initial burden, the burden then shifts to the non-moving party to present specific

16 facts showing that there is a genuine issue for trial. Fed. R. Civ. P. 56(e); Celotex, 477 U.S. at 324;

17 Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586-87 (1986). The non-movant’s

18 bare assertions, standing alone, are insufficient to create a material issue of fact and defeat a motion
19 for summary judgment. Anderson, 477 U.S. at 247-48. An issue of fact is material if, under the

20 substantive law of the case, resolution of the factual dispute might affect the case’s outcome. Id. at

21 248. Factual disputes are genuine if they “properly can be resolved in favor of either party.” Id. at

22 250. Thus, a genuine issue for trial exists if the non-movant presents evidence from which a

23 reasonable jury, viewing the evidence in light most favorable to that party, could resolve the material

24 issue in its favor. Id. However, “[i]f the [non-movant’s] evidence is merely colorable, or is not

25 significantly probative, summary judgment may be granted.” Id. at 249-50 (internal citations
26 omitted).
27

28

                                                      -1-                   Case No. 16-cv-02787-WHO
                                                         SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
        Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 7 of 27
                 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1                                             ARGUMENT
 2 I.       THE COURT SHOULD GRANT SUMMARY JUDGMENT                                          OF    NON-
            INFRINGEMENT AND INVALIDITY OF THE ’239 PATENT
 3
            A.      The ’239 Patent and Huawei’s Allegations
 4
            The ’239 patent (Ex. A)1 is directed to the generation of reference signals for use in
 5
     communication systems. (Id. at Abstract.) Reference signals are known sequences with desirable
 6
     properties that can be used to estimate channel conditions, such as fading and scattering of radio
 7
     signal as the signal propagates along the channel. (Id. at 1:50-54.) For example, a receiver such as
 8
     a base station may receive known reference signals from a mobile device in order to estimate the
 9
     channel fading and interference associated with transmissions from that mobile device. (Id. at 1:55-
10
     67.) The base station can then use the estimated channel conditions in order to better demodulate
11
     the data signal received from the mobile device. (Id. at 3:30-48.)
12
            Huawei alleges that the Accused Samsung Products infringe the ’239 patent by “
13

14
                                                            .” (Ex. B, Expert Report of Dr. Veeravalli
15
     Regarding Infringement of U.S. Patent No. 8,644,239 (“Veeravalli Rep.”) ¶¶ 52, 78.) Asserted
16
     claims 7 and 18 depend from independent claims 6 and 17. (Id. at ¶¶ 82-83.) Claims 6 and 7 recite
17
     a method for processing sequences in a communication system, while claims 17 and 18 recite the
18
     corresponding apparatus.
19
            B.      The Accused Products Do Not Infringe the “Group Number k” Limitations
20
            The asserted claims are not infringed under this Court’s constructions. The first step of
21
     independent claims 6 and 17 recites “obtain[ing] a group number k of a sequence group allocated
22
     by [a/the] system.” (Ex. A at Cl. 6, 17.) The claims go on to later recite that “a value of a basic
23
     sequence index ri in the sub-group i in the sequence group k is at least one of ⌊𝑘∙𝑁𝑖/𝑁1⌋, ⌈𝑘∙𝑁𝑖/𝑁1⌉,
24
     ⌊𝑘∙𝑁𝑖 /𝑁1⌋ +1 or ⌈𝑘∙𝑁𝑖/𝑁1⌉ − 1.” (Id.) The Court construed the “a group number k . . .” phrase to
25
     mean “a group number k allocated by the system, where the group number k identifies a sequence
26
27
      1
        All Exhibits referenced herein are attached to the Declaration of Brian Mack in Support of
28 Samsung’s Motion for Summary Judgment (“Mack Decl.”).

                                                     -2-                   Case No. 16-cv-02787-WHO
                                                        SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
     Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 8 of 27
              REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 group and where the value k is the same throughout the claim.” (Dkt. 168 at 7-9 (emphasis

 2 added).)

 3        As to the limitation of “

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25
26
27

28

                                              -3-                  Case No. 16-cv-02787-WHO
                                                SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 9 of 27
                 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11          As shown above, Dr. Veeravalli twists and contorts the value k whenever it suits his needs

12 in order to force infringement where there is none. Because Huawei’s expert’s infringement analysis

13 defies this Court’s Claim Construction Order, the Court should grant summary judgment of non-

14 infringement.

15          C.     The Asserted Claims Are Either Invalid as Indefinite or Not Infringed
16          The asserted claims are either invalid or not infringed for a second, independent reason.

17 Both asserted claims 7 and 18 contain the limitation “wherein the sequences correspond to at least

18 one of: Zadoff-Chu sequences and Gauss sequences.” The asserted claims, however, recite more
19 than one set of sequences and it is ambiguous whether “the sequences” refer back to all of those

20 “sequences,” or some subset of them, making it impossible to determine the scope of the claimed

21 invention with reasonable certainty and rendering the asserted claims indefinite under 35 U.S.C. §

22 112 ¶ 2. But even if Huawei’s interpretation that “the sequences” in claims 7 and 18 refer to the last

23 set of sequences recited in independent claims 6 and 17 is adopted, summary judgment of non-

24 infringement is appropriate because Huawei provides no evidence that theses sequences are Zadoff-

25 Chu sequences, as required by the asserted claims.
26
27

28

                                                     -4-                   Case No. 16-cv-02787-WHO
                                                        SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 10 of 27
                  REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1                   1.      The Lack of a Clear Antecedent for “The Sequences” in the Asserted
                             Claims Renders Them Invalid as Indefinite
 2
              In order to be valid, 35 USC § 112 ¶ 2 requires that “a patent’s claims, viewed in light of the
 3
     specification and prosecution history, inform those skilled in the art about the scope of the invention
 4
     with reasonable certainty.” Nautilus, Inc. v. Biosig Instruments, Inc., 134 S. Ct. 2120, 2129 (2014).
 5
     While “absolute certainty” is not required to satisfy the definiteness requirement, a patent must be
 6
     “precise enough to afford clear notice of what is claimed, thereby ‘appris[ing] the public of what is
 7
     still open to them.’” Id. at 2129. “Otherwise there would be ‘[a] zone of uncertainty which
 8
     enterprise and experimentation may enter only at the risk of infringement claims.’” Id. This “zone
 9
     of uncertainty” is squarely present here for the “the sequences” limitation in the asserted claims.
10
              The asserted claims refer to multiple “sequences.” In particular, the independent claims use
11
                                                              the term “sequences” in several different
12
                                                              places,   referring   to   the   (1)   “selected”
13
                                                              sequences, (2) “formed” sequences, and (3)
14
                                                              “generated”    sequences.        For    example,
15
                                                              independent claim 6 recites that “n sequences”
16
                                                              are “select[ed]” from a candidate sequence
17
                                                              collection. (Ex. A at Cl. 6.) Then, sequences
18
                                                              are “form[ed]” in a “sub-group i in a sequence
19
                                                              group k.” Finally, “corresponding sequences”
20
                                                              are generated “according to the sequences in
21
                                                              the formed sub-group.” The plain language of
22
                                                              claim 6 therefore requires at least three claimed
23
     sequences:     the selected sequences, the formed sequences, and the generated, corresponding
24
     sequences.2 (See Ex. D, Expert Report of Dr. Veeravalli Regarding Validity of U.S. Patent No.
25
     8,644,239 (“Veeravalli Reb. Rep.”) ¶ 94 (“                                                               s
26
27

28      2
            Claims 17 and 18 correspond to claims 6 and 7 and contain the same ambiguity.

                                                        -5-                  Case No. 16-cv-02787-WHO
                                                          SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
     Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 11 of 27
                  REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1                      .”) (emphasis added).) Dependent claim 7 also references “the sequences” and

 2 requires them to “correspond to at least one of: Zadoff-Chu sequences and Gauss sequences.” (Ex.

 3 A at Cl. 7.)

 4          But, the claims do not specify which of the previously recited three “sequences” in the

 5 independent claims constitute “the sequences” recited later in the dependent claims. So a person of

 6 ordinary skill in the art would not be able to determine the proper antecedent basis (i.e., to which

 7 instance of “sequences” the term “the sequences” referred). Neither the claim language nor the

 8 specification (which merely parrots the claim language) resolves the ambiguity.

 9          Even Huawei’s expert acknowledges
10

11

12

13

14

15

16

17                                                          The specification of the ’239 patent itself

18 describes the “cyclic extension” process used to generate separate, longer “corresponding”
19 sequences from the selected sequences before those sequences are transmitted:

20          When the number of sub-carriers that bear the sequence in the cell is not a prime
            number, it is necessary to select the sequence whose length is equal to the prime
21          number around the number of sub-carriers, and the desired sequence is obtained
            through sequence segmentation or cyclic extension of the sequence before being
22          transmitted.

23 (Ex. A at 11:33-38.)

24          Because, as acknowledged by Huawei’s own expert,

25                                                         the claim is capable of being interpreted in
26 multiple competing ways, each with a different claim scope. A person of ordinary skill in the art
27 would not understand which of the multiple competing interpretations was the correct interpretation;

28

                                                    -6-                  Case No. 16-cv-02787-WHO
                                                      SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 12 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 hence, the claim fails to inform those skilled in the art about the scope of the invention with

 2 reasonable certainty and is thus indefinite.

 3          In his report, Huawei’s expert contends

 4

 5

 6

 7

 8

 9
10

11
                                                            There can be no credible dispute, therefore,
12
     that the asserted claims’ confused and ambiguous use of the term “the sequences” renders the claims
13
     indefinite because the claims fail to inform those skilled in the art about the scope of the invention
14
     with reasonable certainty and leave a zone of uncertainty surrounding their proper scope. Nautilus,
15
     134 S. Ct. at 2129. The Court should grant summary judgment of invalidity under § 112 ¶ 2.
16
                    2.      In the Alternative, the Court Should Grant Summary Judgment of
17                          Non-Infringement

18          If the accused products fail to satisfy even a single limitation of the claims, they do not

19 infringe. Hutchins v. Zoll Med. Corp., 492 F.3d 1377, 1380 (Fed. Cir. 2007); Biagro Western Sales,

20 Inc. v. Grow More, Inc., 423 F.3d 1296, 1301 (Fed. Cir. 2005). The party asserting patent

21 infringement has the burden of proving infringement, and thus the burden of establishing that each

22 and every limitation in the asserted claim is met. Jazz Photo Corp. v. Int’l Trade Comm’n, 264 F.3d

23 1094, 1102 (Fed. Cir. 2001) (“The initial burden is upon the complainant to establish its cause of

24 action, here patent infringement; the patentee must present evidence sufficient to establish that one

25 or more patent claims are infringed.”); Nutrinova Nutrition Specialities & Food Ingredients GmbH
26 v. Int’l Trade Comm’n, 224 F.3d 1356, 1359 (Fed. Cir. 2000) (“As a general proposition, the law
27 places the burden of proving infringement on the patentee who alleges it.”).

28

                                                      -7-                   Case No. 16-cv-02787-WHO
                                                         SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 13 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1          To the extent the Court adopts Huawei’s interpretation that

 2

 3                           , summary judgment of non-infringement would still be appropriate.3

 4 Huawei and its expert have not advanced any evidence that

 5

 6 as required by asserted claims 7 and 18. Nor could they as the undisputed evidence confirms that

 7 the alleged “corresponding” sequences are not Zadoff-Chu or Gauss sequences.

 8          With respect to claim 7, it is undisputed that both Zadoff-Chu sequences and Gauss

 9 sequences are well defined sequences defined by specific formula contained in the ’239 patent. (Ex.
10 A at Formula (1) (Zadoff-Chu sequences), Formula (2) (Gauss sequences);

11

12                     ).) Huawei and its expert do not present any evidence or opinion regarding the

13 existence of any Gauss sequences in the accused products. Instead, they allege that the accused

14 products use a Zadoff-Chu sequence. (Veeravalli Rep. ¶¶ 443, 446, 450.)

15          The only supposed disclosure of Zadoff-Chu sequences in the LTE standard relied upon by

16 Huawei’s expert is “

17

18
19

20

21

22                                                                            ̅
23

24      3
            If the Court finds “the sequences” refers back to all the previously recited instances of
     “sequences” in the independent claims, then the same result would hold because there is no
25
     evidence that at least the generated “corresponding” sequences recited in the independent claims
26   are Zadoff-Chu or Gauss sequences, as required by the asserted claims.
         4
            Resource blocks are allocated to user terminals and 12 subcarriers are used per resource
27   block. If m = 3 (3 resource blocks are allocated), that represents 3 x 12 or 36 subcarriers.
     (Veeravalli Dep. Tr. 54:20-55:7.) In this example, the root sequence of length 31 must be cyclic
28   shifted and extended by 5 bits to generate the claimed “corresponding” sequence of 36 bits.

                                                    -8-                   Case No. 16-cv-02787-WHO
                                                       SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
     Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 14 of 27
                 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1

 2

 3

 4

 5

 6           Summary judgment is therefore appropriate. Exigent Technology, Inc. v. Atrana Solutions,

 7 Inc., 442 F.3d 1301, 1308 (Fed. Cir. 2006) (summary judgment proper when “patentee had no

 8 evidence of infringement” and movant “point[s] to the specific ways in which accused systems did

 9 not meet the claim limitations”); see also Celotex Corp. v. Catrett, 477 U.S. 317, 325 (1986)
10 (summary judgment appropriate where “there is an absence of evidence to support the nonmoving

11 party’s case”).

12          Although summary judgment is appropriate given the absence of any proof by Huawei that

13 this limitation is met, Samsung’s expert, Dr. Madisetti, provides unrebutted evidence that

14

15

16

17

18
19

20

21          Since there is no genuine issue of material fact that Huawei has not shown that the claimed

22 “corresponding” sequences are Zadoff-Chu sequences, as required by the asserted claims, the Court

23 should grant summary judgment of non-infringement of the ’239 patent if it does not grant summary

24 judgment of invalidity.

25          D.       The Asserted Claims in the ’239 Patent Are Invalid Under § 101
26          As detailed above, asserted claims 7 and 18 claim creating groups of numeric sequences that
27 are not highly correlated with each other. Eligibility for patent protection under 35 U.S.C. § 101

28 involves a two-step analysis that first asks whether the claims at issue are directed to an abstract

                                                    -9-                  Case No. 16-cv-02787-WHO
                                                      SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 15 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 idea. Alice Corp. Pty. v. CLS Bank Int’l, 134 S. Ct. 2347, 2355 (2014). If so, then the second step

 2 in the analysis asks the questions of whether the claims at issue contain some “inventive concept”

 3 that take them out of the realm of patent eligibility. Id. The Supreme Court has defined an

 4 “inventive concept” as “an element or combination of elements that is sufficient to ensure that the

 5 patent in practice amounts to significantly more than a patent upon the [abstract idea] itself.” Id.

 6 (internal quotation marks omitted).

 7          Parker v. Flook provides further insight into determining patent eligibility under § 101 for

 8 claims, like in the ’239 patent, that include mathematical formulas. 437 U.S. 584 (1978). For such

 9 claims that are “directed essentially to a method of calculating, using a mathematical formula, even
10 if the solution is for a specific purpose, the claimed method is nonstatutory.” Id. at 595. Determining

11 whether a claim is “directed essentially to a method of calculating” involves assuming that the

12 mathematical formula present in the claims falls within the prior art. Id. at 594. If the remaining

13 portions of the claims present no patentable invention (i.e., have no “inventive concept”), then the

14 claims contain patentable-ineligible subject matter under § 101. Id. The idea is that a mathematical

15 formula cannot be made patent eligible by pairing it with “post-solution activity, no matter how

16 conventional or obvious.” Id. at 590.

17          Here, this abstract idea of creating groups of numeric sequences that are not highly correlated

18 with each other does not have an accompanying inventive step that takes the asserted claims out of
19 the realm of patent-ineligible subject matter. The Court previously considered this issue in the

20 context of Samsung’s Partial Motion to Dismiss Under Rule 12(b)(6). (Dkt. 39.) The Court held

21 that the asserted claims of the ’239 patent are directed to an abstract idea under Alice step one. (Dkt.

22 103 at 17.) However, the Court ultimately denied Samsung’s Motion with respect to the ’239 patent

23 because it found that the asserted claims “contain enough of an inventive concept” under Alice step

24 2 “at least based on the allegations in the Complaint.” (Id. at 17-18.) But as detailed further below,

25 it is now clear after discovery that no genuine issue of material fact exists regarding the lack of an
26 inventive concept in the asserted claims of the ’239 patent. As a determination under § 101, the
27 issue involves a question of law and presents no genuine issue of material fact here, so summary

28 judgment is appropriate.

                                                     -10-                  Case No. 16-cv-02787-WHO
                                                        SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 16 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1                  1.      The Court Correctly Found the ’239 Patent Claims an Abstract Idea
 2          Beginning with Alice step one, the asserted claims of the ’239 patent claim the abstract idea

 3 of creating groups of numeric sequences that are not highly correlated with each other. For example,

 4 claim 6 recites splitting the sequences from a sequence group into separate sub-groups. Specifically,

 5 a certain number of sequences (the

 6 quantity represented by natural number n)

 7 are selected from a sequence group

 8 identified by group number k and placed

 9 into a sub-group identified by serial
10 number i. The sequences for a particular

11 sub-group are selected based upon their

12 correlation, as represented by one of four

13 different mathematical formulas included

14 in the claims—⌊𝑘 ∙ 𝑁𝑖 /𝑁1 ⌋, ⌈𝑘 ∙ 𝑁𝑖 /𝑁1 ⌉,

15 ⌊𝑘 ∙ 𝑁𝑖 /𝑁1 ⌋ + 1 or ⌈𝑘 ∙ 𝑁𝑖 /𝑁1 ⌉ − 1.   By

16 ensuring that there is a high correlation

17 among the sequences in each individual sub-group, the claim purportedly ensures that the different sub-

18 groups are not highly correlated with each other.
19          Aside from the mathematical formula for splitting sequences into different sub-groups, claim

20 6 only includes two other elements—generating the corresponding sequences and communicating

21 according to the sequences on time frequency resources. These steps are conventional techniques,

22 as stated in the specification of the ’239 patent itself. (Ex. A at 5:9-11 (describing FIG. 2 as showing

23 “the conventional art where the sequences transmitted by different cells occupy partially overlapped

24 time frequency resources”).) Independent claim 17, upon which asserted claim 18 depends, includes

25 functionally the same conventional post-solution activity. (See id. at 26:29-33.) Dependent claims
26 7 and 18 merely further specify the use of well-known types of sequences. (See, e.g., id., 25:24-26
27 (“Zadoff-Chu sequences and Gauss sequences”); see also Huawei’s Opposition to Samsung’s

28

                                                       -11-                 Case No. 16-cv-02787-WHO
                                                         SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
     Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 17 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 Partial Motion to Dismiss (Dkt. 86) at 7 (“Zadoff-Chu . . . sequences are one type of mathematical

 2 sequence that is commonly applied to radio signals in a cellular network”).)

 3          Because the asserted claims only contain conventional post-solution activity beyond the idea

 4 of creating groups of numeric sequences that are not highly correlated with each other, the claims

 5 are directed to an abstract idea under Alice step one. Flook, 437 U.S. at 590. The Court previously

 6 reached the same conclusion in its Order on Samsung’s Partial Motion to Dismiss: (“Samsung has

 7 . . . presented an abstract idea with respect to the ’239 claims, and Huawei offers no argument in

 8 rebuttal”). (Dkt. 103 at 17.)

 9                  2.     The Asserted Claims of the ’239 Patent Contain No Inventive Step
10          Turning to Alice step two, the asserted ’239 claims fail to contain an “inventive step” that

11 elevates the abstract idea of creating groups of numeric sequences that are not highly correlated with

12 each other into the realm of patent eligibility under § 101. As noted above, the Court originally held

13 in its Order denying Samsung’s Motion to Dismiss that the asserted claims of the ’239 patent

14 “contain enough of an inventive concept to be patent eligible, at least based on the allegations in

15 the Complaint.” (See Dkt. 103 at 17-18 (emphasis added).) At the hearing on Samsung’s Motion

16 to Dismiss, Huawei’s counsel stated that additional discovery, including expert discovery, would be

17 necessary to sufficiently understand the ’239 patent to determine whether it claims patent-eligible

18 subject matter under § 101. (Ex. F, Oct. 26, 2018 Hearing Tr. at 10:9-14 (“You’ve got lawyers
19 trying to explain it to you when really you should have experts trying to explain it to you. This is

20 early in the case, for these particular patents, to get the background one would need to really

21 understand what is -- what we’re talking about.”).) Huawei’s counsel explained “that there could

22 be an appropriate to time” to decide the patent eligibility of the asserted ’239 claims “once

23 everything gets put into context,” an assessment with which the Court agreed. (Id. at 11:3-5, 11:8

24 (“Well, you’re singing to the choir”).) That time is now. Since the Court’s Order more than a year

25 and a half ago, Samsung has deposed Bingyu Qu, a named inventor of the ’239 patent, and the
26 parties have exchanged expert reports. As described below, the statements made by Mr. Qu and the
27 contents of the rebuttal expert report by Huawei’s expert on the validity of the ’239 patent refute the

28 allegations from Huawei’s Complaint. (See, e.g., Dkt. 1 ¶ 110; see also Dkt. 101 ¶ 556 (denying

                                                     -12-                  Case No. 16-cv-02787-WHO
                                                        SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
     Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 18 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 Samsung’s contention that the asserted ’239 claims are invalid under § 101).) They substantiate

 2 Samsung’s contention that none of the non-mathematical equation portions of the asserted claims

 3 contain anything patent-eligible. The confirmation of the absence of an “inventive step” in the

 4 asserted ’239 claims mandates a different result than that reached by the Court in its Order Denying

 5 Samsung’s Motion to Dismiss.

 6          As described in the preceding section, the few elements of the claims that are not related to

 7 the mathematical formula for creating groups of sequences are merely generic, high-level, and

 8 provide no inventive concept. Independent claim 6 includes the steps of “generating . . . sequences

 9 according to the sequences in the formed sub-group” and “communicating . . . according to the
10 sequences on time frequency resources corresponding to the sub-group.” (See Ex. A at 25:18-23.)5

11 Bingyu Qu, named inventor of the ’239 patent, admitted during his deposition that

12

13                                                                                     ) The specification

14 of the ’239 patent states that communicating on time frequency resources was part of the

15 “conventional art.” (See Ex. A at 5:9-11.)

16          The addition in asserted dependent claims 7 and 18 of the sequences being either Zadoff-

17 Chu sequences or Gauss sequences does not provide any inventive step because those types of

18 sequences were well-known in the art at the time of the ’239 patent.
19                                                                                           ) Moreover,

20 the additional limitation provided by the dependent claims could not be an inventive step because it

21 merely provides further specificity about the mathematical formula that describes the sequences and

22 how they are grouped together, as given in independent claims 6 and 17. Notably, Huawei’s expert,

23 Dr. Veeravalli, in his rebuttal expert report on the validity of the ’239 patent,

24

25
26
        Independent claim 17 includes a functionally equivalent apparatus element: “a sequence
        5

27 processing unit configured to generate corresponding sequences according to the sequences in the
   formed sub-group i, and process according to the sequences on time frequency resources
28 corresponding to the sub-group i.” (Ex. A at 26:29-33 (emphasis added).)

                                                    -13-                  Case No. 16-cv-02787-WHO
                                                       SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
         Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 19 of 27
                  REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1

 2

 3

 4                                                                                                         )

 5 Since the post-solution activity in the asserted claims of the ’239 patent was conventional in the art

 6 at the time of the ’239 patent and provides no “inventive step,” the asserted claims fail under Alice

 7 step two and are thus invalid as directed to non-statutory subject matter.

 8 II.       THE COURT SHOULD GRANT SUMMARY                                 JUDGMENT          OF     NON-
             INFRINGEMENT OF THE ’613 PATENT
 9
             The asserted claims of the ’613 patent (Ex. H) require “receiv[ing] . . . a service sent by a
10
     base station.” Huawei alleges that
11
                                 . Huawei, however, has failed to set forth any evidence that the Accused
12
     Samsung Products actually meet this limitation. Nor can it. Accordingly, summary judgment of
13
     non-infringement of the ’613 patent is appropriate.
14
             A.     The ’613 Patent and Huawei’s Allegations
15
             The ’613 patent is directed to methods and devices used for receiving a “service” and
16
     “position information” of that service in a time unit. Huawei alleges that the Accused Samsung
17
     Products6 infringe claims 1 and 5 of the ’613 patent. (Ex. I, Expert Report of Robert Akl, D.Sc.
18
     Regarding Infringement of United State Patent No. 8,724,613 (“Akl Rep.”) ¶ 48.) Both claims 1
19
     and 5 require “receiv[ing] . . . a service sent by a base station.” (’613 patent at claims 1 and 5; Akl
20
     Rep. ¶¶ 77, 119-120.) Huawei contends that
21
                                                                         eMBMS is Evolved Multimedia
22
     Broadcast Multicast Service. (Akl Rep. ¶ 68.) When enabled, eMBMS involves the broadcast of
23

24
     Huawei asserts that the following Samsung phones infringe claims 1 and 5 of the ’613 patent:
     6
25
   Galaxy Note 5 (Verizon, AT&T, T-Mobile, and Sprint), Galaxy S5 (Verizon, AT&T, T-Mobile,
26 and Sprint), Galaxy S6 (Verizon, AT&T, and T-Mobile), Galaxy S6 Edge (Verizon and AT&T),
   Galaxy S6 Edge+ (Verizon and AT&T), Galaxy S7 (Verizon, AT&T, and T-Mobile), Galaxy S7
27 Edge (Verizon, AT&T, and T-Mobile), Galaxy S8 (Verizon, AT&T, T-Mobile, and Sprint),
   Galaxy S8+ (Verizon, AT&T, T-Mobile, and Sprint) (collectively “Accused Samsung Products”).
28 (Dkt. 318-4.)

                                                      -14-                  Case No. 16-cv-02787-WHO
                                                         SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
     Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 20 of 27
               REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 data streams within LTE networks, such as video broadcast of live sporting events. (Akl Rep. ¶ 69;

 2 Ex. K, Aug. 7, 2017 Claim Construction Tutorial at 12:21-25.)

 3

 4

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25
26
27

28

                                                  -15-                  Case No. 16-cv-02787-WHO
                                                     SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 21 of 27
                 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1

 2

 3

 4

 5

 6

 7

 8

 9
10

11

12

13           Huawei does not dispute that the eMBMS functionality in the LTE standard is an optional

14 feature for networks and user equipment. (Akl Rep. ¶ 84.)

15

16

17

18
19

20

21

22          B.     The “Evidence” Put Forth by Huawei Fails to Show that the Accused Products
                   Infringe the Claimed Receiving a Service
23
            Despite the undisputed evidence above that the Accused Samsung Products are not
24
     preloaded with the required software to implement the eMBMS functionality, Huawei relies on two
25
     types of supposed “evidence” to allege that the Accused Samsung Products infringe claims 1 and 5:
26
27

28

                                                   -16-                  Case No. 16-cv-02787-WHO
                                                      SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
         Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 22 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1

 2                          But Huawei points to nothing that raises a genuine issue of fact as to whether

 3 the Accused Samsung Products receive the claimed “service.” They do not.

 4           First, Huawei relies on

 5

 6

 7

 8

 9
10

11

12

13

14

15

16

17

18
19

20
             In any event, the attorney statements from the claim construction tutorial do not even show
21
     that
22

23

24

25
26
27   7
      Dr. Akl, Huawei’s expert, identifies websites from Verizon and third parties in his section on
   Indirect Infringement. However, these websites do not identify any Samsung Accused Products
28 and do not state that any Samsung Accused Product ever receives MBMS. (Akl Rep. ¶ 248.)

                                                    -17-                   Case No. 16-cv-02787-WHO
                                                        SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 23 of 27
                 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1

 2

 3          With respect to the documents that show that the Accused Samsung Products comply with

 4 the LTE standards, Huawei has not cited to anything in the LTE standard to show

 5

 6

 7

 8

 9          Accordingly, Huawei has not met its burden of proof in proving that the Accused Samsung
10 Products infringe claims 1 and 5 of the ’613 patent. This Court should enter summary judgment in

11 favor of Samsung based on Huawei’s failure to meet its burden.

12 III.     SAMSUNG’S ’105 PATENT IS NOT INVALID IN VIEW OF MOTOROLA
13          One of the invalidity theories raised by Huawei and its expert, Dr. Mark Mahon, against

14 Samsung’s U.S. Patent No. RE44,105 (“the ’105 patent”) relies on a reference that is not prior art

15 as a matter of law. Samsung requests that the Court enter summary judgment that the reference is

16 not prior art to the ’105 patent and that the ’105 patent is not invalid in view thereof.

17          A.      Relevant Factual Background
18          Huawei and Dr. Mahon allege invalidity of the ’105 patent based on, inter alia,
19                                                                (“the Motorola Draft”). (Ex. R (Mahon

20 Invalidity Rpt.) at 46-51.) The Motorola Draft comprises

21                                              under a “Highly Confidential – Attorneys’ Eyes Only”

22 confidentiality designation. (Mack Decl. ¶ 2.) Dr. Mahon alleges

23

24

25                                                                             (Ex. S (Mahon Dep. Tr.) at
26 198:1-199:9.) U.S. Patent Application No. 11/539,220 (“the ’220 Application”) is the only non-
27 provisional patent application filed claiming priority to the ’683 Provisional. But, it was abandoned

28 prior to issuance. (Ex. T (Bibliographic Data Sheet); Ex. U (Notice of Abandonment).)

                                                     -18-                   Case No. 16-cv-02787-WHO
                                                         SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 24 of 27
                 REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1          B.      The Motorola Draft Does Not Qualify As Prior Art to the ’105 Patent
 2          35 U.S.C. § 102(g) (pre-AIA) provides that a prior invention may qualify as prior art if the

 3 prior inventor “reduced its invention to practice first” or “was the first party to conceive of the

 4 invention and then exercised reasonable diligence in reducing that invention to practice.” Fox

 5 Group, Inc. v. Cree, Inc., 700 F.3d 1300, 1304 (Fed. Cir. 2012) (citations omitted). Thus, in all

 6 instances, a reduction to practice is required to establish prior inventorship of an invention by

 7 another. Id.

 8          Here, Huawei and Dr. Mahon rely on

 9                                        . (Ex. S (Mahon Tr.) at 198:1-199:9.) This fails as a matter of
10 law because the ’683 Provisional was automatically abandoned, by statute, 12 months after it was

11 filed. See 35 U.S.C. § 111(b)(5). An abandoned application cannot show the required reduction to

12 practice under § 102(g). In re Costello, 717 F.2d 1346, 1350 (Fed. Cir. 1983) (“While the filing of

13 the original application theoretically constituted a constructive reduction to practice at the time, the

14 subsequent abandonment of that application also resulted in an abandonment of the benefit of that

15 filing as a constructive reduction to practice.”); see also Scimed Life Sys. v. Johnson & Johnson,

16 2001 U.S. Dist. Lexis 12862 (D. Del. 2001); Church & Dwight Co. v. Abbott Labs, 545 F. Supp.2d

17 447 (D.N.J. 2008); Roberts v. Sears, Roebuck & Co., 665 F. Supp. 671 (N.D. Ill. 1987).

18 Accordingly, Huawei and Dr. Mahon cannot rely on the 683 Provisional as reduction to practice.
19          Additionally, although Motorola also filed a single non-provisional application claiming

20 priority to the ’683 Provisional (i.e., the ’220 Application), it too was abandoned. (Ex. U (Notice

21 of Abandonment).)8 Therefore both the ’220 Application and ’683 Provisional were abandoned

22 and, under the applicable precedent, cannot and do not qualify as reduction to practice. As there is

23

24

25      8
         To the extent necessary, Samsung requests that the Court take judicial notice of abandonment
26 of the ’220 Application as evidenced by Exhibit U. Exhibit U is a PTO document that is “capable
   of accurate and ready determination by resort to sources whose accuracy cannot be questioned.”
27 Fed. R. Evid. 201(b). Specifically, Exhibit U is an official PTO notice that is a public record created,
   maintained, and made publicly available in the course of the PTO’s duties, and that contains its
28 finding and determination, under its official duties, that the ’220 Application was abandoned.

                                                     -19-                   Case No. 16-cv-02787-WHO
                                                         SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 25 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 no evidence of any reduction to practice by Motorola, Huawei’s arguments of prior inventorship

 2 under 35 U.S.C. § 102(g) must fail.

 3          Further, the Motorola Draft also does not qualify as a prior art printed publication under 35

 4 U.S.C. § 102 (pre-AIA). In order for a document to qualify as a “printed publication” under § 102,

 5 it must be publicly accessible. See, e.g., SRI Int’l, Inc. v. Internet Sec. Sys., Inc., 511, F.3d 1186,

 6 1194-95 (Fed. Cir. 2008). “A given reference is ‘publicly accessible’ upon a satisfactory showing

 7 that such document has been disseminated or otherwise made available to the extent that persons

 8 interested and ordinarily skilled in the subject matter or art exercising reasonable diligence, can

 9 located it.” Id. (citations omitted). Here, there is no dispute that the Motorola Draft is a
10

11                 (Mack Decl. ¶ 2.) Accordingly, it was not publicly accessible and, as such, is not a

12 prior art “printed publication” under 35 U.S.C. § 102.

13          As the Motorola Draft does not qualify as prior art under any provision of 35 U.S.C. § 102,

14 Samsung respectfully requests that the Court find the ’105 patent is not invalid in view thereof.

15 IV.      THERE IS NO EVIDENCE OF INEQUITABLE CONDUCT WITH RESPECT TO
            SAMSUNG’S ’105 PATENT
16
            Huawei and Dr. Mahon have alleged that
17

18
                                                                      (Ex. R (Mahon Rpt.) at 169-171; Ex.
19
     V (Huawei’s Jan. 20, 2017 Invalidity Contentions) at 109-113.) Notwithstanding the fact that
20
     Huawei failed to plead its defense of inequitable conduct on the ’105 patent,9 the defense should be
21
     denied on summary judgment because there is simply no evidence of specific intent to deceive the
22
     PTO. “To prevail on a claim of inequitable conduct, the accused infringer must prove that the
23
     patentee acted with the specific intent to deceive the PTO.” Therasense, Inc. v. Becton, Dickinson
24
     and Co., 649 F.3d 1276, 1290 (Fed. Cir. 2011) (en banc) (emphasis added). Notably, as the Federal
25
     Circuit explained in Therasense, “clear and convincing evidence must show that the applicant made
26
27
      9
        Samsung is concurrently moving to strike opinions by Dr. Mahon relating to inequitable
28 conduct due to Huawei’s failure to plead the defense.

                                                      -20-                  Case No. 16-cv-02787-WHO
                                                         SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
     Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 26 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 a deliberate decision to withhold a known material reference.” Id. (citations omitted). Specific

 2 intent to commit acts constituting inequitable conduct may be inferred from indirect and

 3 circumstantial evidence, but only if deceptive intent is “the single most reasonable inference drawn

 4 from the evidence.” Therasense, 649 F.3d at 1290.

 5          Here, there is no evidence—whether direct or circumstantial—to show any specific intent to

 6 deceive the PTO in connection with the ’105 patent by Mr. Khan or anyone at Samsung. Nowhere

 7 in Dr. Mahon’s opinions regarding inequitable conduct does he even allege specific intent to deceive

 8 the PTO, let alone identify any evidence thereof. (Ex. R (Mahon Rpt.) at 169-171.) Nor has Huawei

 9 adduced any testimony, communications, or documents to show specific intent. Even accepting as
10 true Dr. Mahon’s opinions that

11                  (Ex. R (Mahon Rpt.) at 170), at best all he is able to show is that Mr. Khan may have

12 known about certain references that may have been material to the ’105 patent, and that those

13 references were not disclosed to the PTO. Thus, at best, Huawei has only come forward with

14 circumstantial evidence of knowledge, but has failed to identify any actual or even circumstantial

15 evidence of specific intent. The law is clear, however, that “[k]nowledge of the reference and

16 knowledge of materiality alone are insufficient after Therasense to show an intent to deceive.” 1st

17 Media, LLC v. Elec. Arts, Inc., 694 F.3d 1367, 1374-75 (Fed. Cir. 2012) (“An applicant's knowledge

18 of a reference's materiality, however, cannot by itself prove, let alone clearly and convincingly
19 prove, that any subsequent nondisclosure was based on a deliberate decision.”). Here, there are no

20 separate facts to show specific intent. Id. at 1375 (explaining that evidence of knowledge and

21 materiality cannot establish specific intent, “[o]therwise the third element in Therasense’s intent to

22 deceive analysis would be satisfied in any case in which the second element was satisfied [which]

23 would effectively eviscerate Therasense’s test for mens rea and reinflict the plague of patent

24 unenforceability based on the thinnest of speculation regarding the applicant’s putative mental

25
26
27

28

                                                    -21-                  Case No. 16-cv-02787-WHO
                                                       SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
      Case 3:16-cv-02787-WHO Document 336 Filed 07/04/18 Page 27 of 27
                REDACTED VERSION OF DOCUMENT SOUGHT TO BE SEALED


 1 state”).10 Thus, even if Mr. Khan was aware of the references and their materiality, that alone cannot

 2 prove specific intent or show a genuine issue of material fact.

 3           As there is no evidence of specific intent to deceive, Samsung respectfully requests that the

 4 Court find there was no inequitable conduct on the ’105 patent and the patent is not unenforceable.

 5 V.        CONCLUSION
 6           For the foregoing reasons, Samsung respectfully asks the Court to grant its Motion for

 7 Summary Judgment on all claims described above.

 8

 9 DATED: July 3, 2018                             Respectfully submitted,

10                                                 QUINN EMANUEL URQUHART &
                                                   SULLIVAN, LLP
11

12                                            By        /s/ Victoria F. Maroulis
                                                      Charles K. Verhoeven
13                                                    Kevin P.B. Johnson
                                                      Victoria F. Maroulis
14                                                    David A. Perlson
15
                                                      Attorneys for Samsung Electronics Co., Ltd.,
16                                                    Samsung Electronics America, Inc., and
                                                      Samsung Research America, Inc.
17

18
19

20

21

22

23

24      10
             Moreover, specific intent to deceive the PTO is far from the “single most reasonable
     inference” that can be drawn from the non-disclosure of the two references identified by Dr.
25
     Mahon. Therasense, 649 F.3d at 1290. Rather, it is more reasonable to infer that even if Mr.
26   Khan had knowledge of the references, he did not disclose them to the PTO because he did not
     believe they were material to patentability of his invention. Indeed, even Dr. Mahon’s bald
27   assertion that the two references not disclosed to the PTO “
                 ” (Ex. R (Mahon Rpt.) at 170-71) is belied by the fact that he, himself, did not present a
28   single invalidity opinion based on either of the references.

                                                     -22-                   Case No. 16-cv-02787-WHO
                                                         SAMSUNG’S MOTION FOR SUMMARY JUDGMENT
